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                       IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF COLORADO

Civil Action No.: ______________________

SCOTTSDALE INDEMNITY COMPANY,
     Plaintiff,

v.

CONVERCENT, INC.,
O’NEAL PATRICK QUINLAN, III,
AND STEVE FOSTER,

       Defendants.


                       SCOTTSDALE INDEMNITY COMPANY’S
                     COMPLAINT FOR DECLARATORY JUDGMENT


       Plaintiff Scottsdale Indemnity Company (“Scottsdale”), for its complaint for declaratory

judgment, alleges on knowledge, information and belief:

                                     NATURE OF ACTION

       1.      Scottsdale files this action to obtain a judicial determination and declaration as to

the parties’ respective rights and obligations under Business and Management Indemnity Policy

No. EKI3159121 issued to Convercent, Inc. (“Convercent”) for the policy period May 30, 2015

to May 30, 2016 (the “2015-16 Policy”) and Policy No. EKI3189867 issued to Convercent for

the policy period May 30, 2016 to May 30, 2017 (the “2016-17 Policy”) for a declaration that no

coverage is available for Convercent or the individual defendants under an insurance policy

issued by Scottsdale for the lawsuit captioned Eugene F. Ferraro v. Convercent, Inc., et al., Civ.

A. No. 1:17-cv-00781-STV (D. Colo.), and earlier related matters (the “Ferraro Action”). In

support of its complaint, Scottsdale alleges on knowledge, information and belief as follows:


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                                          THE PARTIES

          2.   Plaintiff Scottsdale is a corporation organized and existing under the laws of

Ohio, with its principal place of business located in Scottsdale, Arizona. Scottsdale legally

transacts insurance business in Colorado and within the geographical jurisdiction of the United

States District Court for the District of Colorado.

          3.   Defendant Convercent is a corporation organized and existing under the laws of

Delaware, with its principal place of business located in Denver, Colorado, which is within the

geographical jurisdiction of the United States District Court for the District of Colorado.

          4.   Defendant O’Neal Patrick Quinlan, III (“Quinlan”) is a citizen of Colorado.

          5.   Defendant Steve Foster (“Foster”) is a citizen of Colorado.

                                 JURISDICTION AND VENUE

          6.   This is an action for declaratory judgment pursuant to the Federal Declaratory

Judgment Act, 28 U.S.C. § 2201 and Rule 57 of the Federal Rules of Civil Procedure for the

purpose of determining a question of actual controversy between the parties.

          7.   This action is ripe for adjudication because the parties dispute whether Scottsdale

has a duty to defend under the 2015-16 and 2016-17 Policies in connection with the Ferraro

Action.

          8.   The Court has jurisdiction over this action pursuant to 28 U.S.C. §§ 1332, 2201

and 2202. There is complete diversity of citizenship between the parties, and the amount in

controversy exceeds $75,000, exclusive of interest and costs.

          9.   Venue is proper in this Court pursuant to 28 U.S.C. § 1391. The Policies were

issued by Scottsdale to Convercent in this District. Defendant Convercent maintains its principal



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place of business in this District, and the individual Defendants are citizens of Colorado.

Further, the Ferraro Action, which gave rise to this insurance coverage dispute, is pending in

this District (Civ. A. No. 1:17-cv-00781-STV (D. Colo.)).

                                  FACTUAL ALLEGATIONS

       10.     This insurance coverage action arises out of the Ferraro Action, which concerns

alleged employment discrimination purportedly committed against the claimant in the underlying

lawsuit, Eugene F. Ferraro (“Ferraro”), who previously made a demand and filed an EEOC

charge against Convercent before filing his complaint in the Ferraro Action.

                                      The Ferraro Demand

       11.     On October 20, 2015, Ferraro sent a letter to Convercent and eight Convercent

directors and officers and members of Convercent’s Board of Directors. See 10/20/2015 Letter

from E. Ferraro to A. Wasti, et al. (Ex. A) (“the Ferraro Demand”).

       12.     In the Ferraro Demand, Ferraro asserted that his employment had been terminated

because of his age, which allegedly violated federal law, including the ADEA and Age

Discrimination Act of 1975.

       13.     The Ferraro Demand was sent to Convercent and its directors, officers and

executives during the policy period of the 2015-16 Policy.

       14.     On December 15, 2015, Ferraro sent a letter to reiterate and follow up on the

Ferraro Demand. See 12/15/2015 Letter from E. Ferraro to A. Wasti, et al. (Ex. B). The

December 15, 2015 letter likewise was sent during the policy period of the 2015-16 Policy.

                                  The Ferraro EEOC Charge

       15.     On August 5, 2016, the EEOC received a Charge of Discrimination filed by



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Ferraro against Convercent (the “Ferraro EEOC Charge”). See 8/4/2016 Ferraro EEOC Charge

(Ex. C).

       16.     The Ferraro EEOC charge asserted that Ferraro had “been discriminated and

retaliated against because of [his] age (63) in violation of the Age Discrimination in Employment

Act of 1967, as amended.” See 8/4/2016 Ferraro EEOC Charge (Ex. C).

       17.     The Ferraro EEOC charge also attached a July 12, 2016 letter from counsel

representing Ferraro, which likewise alleged that Convercent discriminated against Ferraro in

violation of the Age Discrimination in Employment Act. See 8/4/2016 Ferraro EEOC Charge

(Ex. C).

                                      The Ferraro Action

       18.     On March 28, 2017, Ferraro filed his complaint in the Ferraro Action. See

Ferraro Action Complaint (Ex. D). As used in this Complaint, the term “Ferraro Action”

includes the Ferraro Demand and the Ferraro EEOC Charge.

       19.     In his complaint, Ferraro asserts allegations of age discrimination under the Age

Discrimination in Employment Act in connection with his termination from Convercent.

       20.     In his complaint, Ferraro specifically references the Ferraro Demand (and

December 15, 2016 follow up letter), as well as the Ferraro EEOC Charge that he filed against

Convercent, which resulted in a notice of right to sue issued by the EEOC on February 10, 2017,

according to the complaint.

       21.     Based on these and other allegations, Ferraro asserts twelve causes of action: for

violation of the Age Discrimination in Employment Act, retaliation, disparate treatment,

wrongful discharge, breach of contract, breach of duty of good faith and fair dealing, promissory



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estoppel, fraudulent misrepresentation, negligent misrepresentation, fraudulent inducement, civil

conspiracy and violation of Colorado Organized Crime Control Act. Ferraro seeks unspecified

damages, rescission of the transfer of shares, treble damages, attorney’s fees and costs, interest

and other damages.

                                           The Policies

         22.    Scottsdale issued the 2015-16 Policy to Convercent for the policy period May 30,

2015 to May 30, 2016. See 2015-16 Policy, Declarations, Item No. 2 (Ex. E).

         23.    Scottsdale issued the 2016-17 Policy to Convercent for the policy period May 30,

2016 to May 30, 2017. See 2016-17 Policy, Declarations, Item No. 2 (Ex. F).

         24.   The Policies each have a $3 million aggregate for all Loss, and an additional $1

million aggregate for “Costs, Charges and Expenses,” subject to a $4 million maximum

aggregate for claims arising under the Employment Practices Coverage Section (subject to a

$15,000 retention) and the Directors and Officers and Company Coverage Section. See Policies,

Declarations Item No. 3 (as amended by Endorsement No. 35 of the Policies).

         25.   For purposes of this coverage action, the 2015-16 Policy and the 2016-17 Policy

(together, the “Policies”) contain substantially the same terms and conditions, unless otherwise

noted.

                         The Employment Practices Coverage Section

         26.    Subject to all of its terms and conditions, the Policies’ Employment Practices

Coverage Section (the “EP Coverage Section”) provides that

         Insurer shall pay the Loss of the Insureds which the Insureds have become legally
         obligated to pay by reason of an Employment Practices Claim first made against the
         Insureds during the Policy Period or, if elected, the Extended Period, and reported to
         the Insurer pursuant to Section E.1. herein, for an Employment Practices Wrongful


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       Act taking place prior to the end of the Policy Period.

See Policies, EP Section, Section A.1.

       27.     The EP Coverage Section of the Policies provides that

       [t]he Insureds shall, as a condition precedent to their rights to payment under this
       Coverage Section only, give to Insurer written notice of any Claim made as soon as
       practicable, but in no event later than sixty (60) days after the end of the Policy Period.

And the EP Coverage Section further provides that “[a] Claim shall be deemed to have been first

made against the Insureds on the date an Insured who is an executive officer, director or

general counsel becomes aware of such Claim.” See Policies, EP Coverage Section, Section E.1

(as amended by Endorsement Nos. 10 and 11 of the 2015-16 Policy and Endorsement Nos. 11

and 12 of the 2016-17 Policy).

       28.     The EP Coverage Section defines “Claim” to include “Employment Practices

Claim.” See Policies, EP Coverage Section, Section B.1.a. The EP Coverage Section in turn

defines “Employment Practices Claim” to mean:

               a.     a written demand against an Insured for damages or other relief;

               b.     a civil, judicial, administrative, regulatory or arbitration proceeding or a
                      formal governmental investigation against an Insured seeking damages or
                      other relief, commenced by the service of a complaint or similar pleading,
                      including an appeal therefrom;

               c.     a civil proceeding against an Insured before the Equal Employment
                      Opportunity Commission or any similar federal, state or local
                      governmental body, commenced by the filing of a notice of charges,
                      investigative order or similar document; or

               d.     a criminal proceeding brought for an Employment Practices Wrongful
                      Act in a court outside of the United States against any Insured,
                      commenced by a return of an indictment or similar document, or receipt
                      for filing of a notice of charges;

               brought by or on behalf of an Employee in their capacities as such. Employment


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               Practices Claim does not include a labor grievance proceeding, which is pursuant
               to a collective bargaining agreement.

See Policies, EP Coverage Section, Section B.5.

       29.    The EP Coverage Section defines “Employee” to mean “any person who was, now

is or shall become . . . a full-time employee or part-time employee of the Company” and “any

natural person who is a leased employee or is contracted to perform work for the Company, or

are independent contractors for the Company, but only to the extent such individual performs

work or services for or on behalf of the Company.” See Policies, EP Coverage Section, B.4 (as

amended by Endorsement No. 3 in the Policies).

       30.    The EP Coverage Section defines “Wrongful Act” to include “Employment

Practices Wrongful Act.” See Policies, EP Coverage Section, Section B.15.a. The EP Coverage

Section in turn defines “Employment Practices Wrongful Act” to include any “violation of any

common or statutory federal, state, or local law prohibiting any kind of employment-related

discrimination,” “wrongful discharge or termination of employment,” “breach of an actual or

implied employment contract,” “employment-related . . . misrepresentation,” and “Retaliation.”

See Policies, EP Coverage Section, Section B.6.a., d., e., g., and k. (as amended by Endorsement

No. 5 in the Policies).

       31.    The EP Coverage Section also provides that

               All Claims arising out of the same Wrongful Act and all Interrelated Wrongful
               Acts shall be deemed to be a single Claim, and such Claim shall be deemed to
               have been made at the earliest of the following times, regardless of whether such
               date is before or during the Policy Period:

                          a.   the time at which the earliest Claim involving the same Wrongful
                               Act or Interrelated Wrongful Acts is first made; or

                          b.   the time at which the Claim involving the same Wrongful Act or


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                               Interrelated Wrongful Acts shall be deemed to have been made
                               pursuant to Section E.2. below.

See Policies, EP Coverage Section, Section D.3.

       32.    The EP Coverage Section defines “Interrelated Wrongful Acts” to mean all

“Wrongful Acts that have as a common nexus any fact, circumstance, situation, event,

transaction, cause or series of facts, circumstances, situations, events, transactions or causes.”

See Policies, EP Coverage Section, Section 9.

                                   The D&O Coverage Section

       33.    Subject to all of its terms and conditions, the Policies’ Directors and Officers and

Company Coverage Section (the “D&O Coverage Section”) provides that

               1.      Insurer shall pay the Loss of the Directors and Officers for which the
                       Directors and Officers are not indemnified by the Company and which
                       the Directors and Officers have become legally obligated to pay by
                       reason of a Claim first made against the Directors and Officers during
                       the Policy Period or, if elected, the Extended Period, and reported to the
                       Insurer pursuant to Section E.1. herein, for any Wrongful Act taking
                       place prior to the end of the Policy Period.

               2.      The Insurer shall pay the Loss of the Company for which the Company
                       has indemnified the Directors and Officers and which the Directors and
                       Officers have become legally obligated to pay by reason of a Claim first
                       made against the Directors and Officers during the Policy Period or, if
                       elected, the Extended Period, and reported to the Insurer pursuant to
                       Section E.1. herein, for any Wrongful Act taking place prior to the end of
                       the Policy Period.

               3.      The Insurer shall the pay the Loss of the Company which the Company
                       becomes legally obligated to pay by reason of a Claim first made against
                       the Company during the Policy Period or, if applicable, the Extended
                       Period, and reported to the Insurer pursuant to Section E.1. herein for
                       any Wrongful Act taking place prior to the end of the Policy Period.

See Policies, D&O Coverage Section, Section A.1-3.

       34.    The D&O Coverage Section provides that


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       [t]he Insureds shall, as a condition precedent to their rights to payment under this
       Coverage Section only, give Insurer written notice of any Claim as soon as practicable,
       but in no event later than sixty (60) days after the end of the Policy Period.

And the D&O Coverage Section further provides that “[a] Claim shall be deemed to have been

first made against the Insureds on the date an Insured who is an executive officer, director or

general counsel becomes aware of such Claim.” See Policies, D&O Coverage Section, Section

E.1 (as amended by Endorsement No. 9 in the 2015-16 Policy and Endorsement No. 10 in the

2016-17 Policy).

       35.    The D&O Coverage Section defines “Insured” to mean “the Company and the

Directors and Officers.” See Policies, D&O Coverage Section, Section B.5. “Company” is

defined to mean Convercent. See Policies, General Terms and Conditions, Section B.2.a, B.7.

and Declarations, Item 1. “Directors and Officers” is defined to mean “a duly elected or

appointed director, officer, or similar executive of the Company, or any member of the

management board of the Company” and “a person who was, is or shall become a full-time or

part-time employee of the Company.” See Policies, D&O Coverage Section, Section B.4.

       36.    The D&O Coverage Section defines “Claim” to include “a written demand against

any Insured for monetary damages or non-monetary or injunctive relief.” See Policies, D&O

Coverage Part, Section B.1 (as amended by Endorsement Nos. 24, 29 and 39).

       37.    The D&O Coverage Section also provides that

               All Claims arising out of the same Wrongful Act and all Interrelated Wrongful
               Acts shall be deemed to be a single Claim, and such Claim shall be deemed to
               have been made at the earliest of the following times, regardless of whether such
               date is before or during the Policy Period:

                      c.      the time at which the earliest Claim involving the same Wrongful
                              Act or Interrelated Wrongful Acts is first made; or



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                       d.      the time at which the Claim involving the same Wrongful Act or
                               Interrelated Wrongful Acts shall be deemed to have been made
                               pursuant to Section E.2. below.

See Policies, D&O Coverage Section, Section D.3.

       38.    The D&O Coverage Section defines “Wrongful Act” to mean “any actual or

alleged error, omission, misleading statement, misstatement, neglect, breach of duty or act

allegedly committed or attempted by” any “Directors and Officers” or the “Company,” and

“Interrelated Wrongful Acts” means all “Wrongful Acts that have as a common nexus any fact,

circumstance, situation, event, transaction, cause or series of facts, circumstances, situations,

events, transactions or causes.” See Policies, D&O Coverage Section, Sections 6 and 9.

       39.    The D&O Coverage Section provides that Scottsdale shall not be liable for “Loss”

under the coverage section on account of any “Claim” “brought or maintained by, on behalf of,

in the right of, or at the direction of the Insured in any capacity, any Outside Entity or any

person or entity that is an owner of or joint venture participant in any Subsidiary in any respect

and whether or not collusive,” subject to certain exceptions not applicable here. See Policies,

D&O Section, Section C.1.e. (the “Insured vs. Insured Exclusion”) (as amended by Endorsement

Nos. 21-23 and 26 in the 2015-16 Policy and Endorsement Nos. 7 and 22-24 in the 2016-17

Policy).

       40.    The D&O Coverage Section also provides that Scottsdale shall not be liable for

“Loss” under the coverage section on account of any “Claim” “alleging, based upon, arising out

of, attributable to, directly or indirectly resulting from, in consequence of, or in any way

involving any employment or employment-related matters brought by or on behalf of or on the

right of an applicant for employment with the Company, or any of the Directors and Officers,



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including any voluntary, seasonal, temporary, leased or independently contracted employee of

the Company.” See Policies, D&O Section, Section C.1.m. (the “Employment Matters

Exclusion”).

                                        The Coverage Dispute

        41.       Convercent provided notice of the Ferraro EEOC Charge on August 29, 2016. See

8/29/2016 Notice of Claim (Ex. G).

        42.       By letter dated September 23, 2016, Scottsdale denied coverage for the Ferraro

EEOC Charge under the 2015-16 Policy and the 2016-17 Policy and otherwise reserved its rights

to raise additional coverage defenses under the Policies and applicable law. See September 23,

2016 Coverage Letter (Ex. H).

        43.       Convercent provided notice of the Ferraro Action on April 4, 2017. See 4/6/2017

Notice of Claim (Ex. I).

        44.       By letter dated April 21, 2017, Scottsdale denied coverage for the Ferraro Action

under the 2015-16 Policy and the 2016-17 Policy and otherwise reserved its rights to raise

additional coverage defenses under the Policies and applicable law. See 4/21/2017 Coverage

Letter (Ex. J).

                                               COUNT I

                  For a declaration that there is no coverage for the Ferraro Action
                        under the EP Coverage Section of the 2015-16 Policy

        45.       Scottsdale realleges and incorporates by reference the allegations in Paragraphs 1

through 44 of this Complaint.

        46.       The EP Coverage Section of the 2015-16 Policy provides specified coverage for an

“Employment Practices Claim” first made during the May 30, 2015 to May 30, 2016 policy


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period and, as a condition precedent to coverage, reported to Scottsdale no later than 60 days

after May 30, 2016, the end of the policy period for the 2015-16 Policy. See 2015-16 Policy, EP

Coverage Section, Sections A.1 and E.1 (as amended by Endorsement Nos. 10-11 in the 2015-16

Policy).

          47.   The EP Coverage Section of the 2015-16 Policy defines “Employment Practices

Claim” to include, in relevant part, a “a written demand against an Insured for damages or other

relief.” See 2015-16 Policy, EP Coverage Section, Section B.5.a.

          48.   Ferraro asserted the Ferraro Demand on October 20, 2015.

          49.   The Ferraro Action, the Ferraro EEOC Charge and the Ferraro Demand involved

“Wrongful Acts” and/or “Interrelated Wrongful Acts” that are deemed to be a single “Claim”

first made on October 20, 2015, when the Ferraro Demand was sent to and received by

Convercent, its directors, officers and executives. See 2015-16 Policy, EP Coverage Section,

Sections B.9, B.15, D.3, E.1 (as amended by Endorsement No. 10 in the 2015-16 Policy).

          50.   Because notice of the “Employment Practices Claim” at issue in the Ferraro

Action – which is deemed first made on October 20, 2015 – was not provided until August 29,

2016, more than 60 days after the May 30, 2016 end of the policy period of the 2015-16 Policy,

the Ferraro Action does not trigger coverage under the EP Coverage Section of the 2015-16

Policy.

          51.   Accordingly, Scottsdale is entitled to a declaration that no coverage is available for

Ferraro Action under the EP Section of the 2015-16 Policy.




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                                           COUNT II

              For a declaration that there is no coverage for the Ferraro Action
                    under the EP Coverage Section of the 2016-17 Policy

       52.    Scottsdale realleges and incorporates by reference the allegations in Paragraphs 1

through 51 of this Complaint.

       53.    The EP Coverage Section of the 2016-17 Policy provides specified coverage for an

“Employment Practices Claim” first made during the May 30, 2016 to May 30, 2017 policy

period and, as a condition precedent to coverage, reported to Scottsdale as required under the

terms of the Policy. See 2016-17 Policy, EP Coverage Section, Sections A.1 and E.1 (as

amended by Endorsement Nos. 11 and 12 of the 2016-17 Policy).

       54.    The EP Coverage Section of the 2016-17 Policy defines “Employment Practices

Claim” to include, in relevant part, a “a written demand against an Insured for damages or other

relief.” See 2016-17 Policy, EP Coverage Section, Section B.5.a.

       55.    Ferraro asserted the Ferraro Demand on October 20, 2015.

       56.    The Ferraro Action, the Ferraro EEOC Charge and the Ferraro Demand involved

“Wrongful Acts” and/or “Interrelated Wrongful Acts” that are deemed to be a single “Claim”

first made on October 20, 2015, when the Ferraro Demand was sent to Convercent. See 2016-17

Policy, EP Coverage Section, Sections B.9, B.15, D.3 and E.1 (as amended by Endorsement No.

11 in the 2016-17 Policy).

       57.    Because the “Employment Practices Claim” at issue in the Ferraro Action – which

is deemed first made on October 20, 2015 – was first made prior to the May 30, 2016 inception

of the 2016-17 Policy, the Ferraro Action does not trigger coverage under the EP Coverage

Section of the 2016-17 Policy.


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       58.    Accordingly, Scottsdale is entitled to a declaration that no coverage is available for

Ferraro Action under the EP Section of the 2016-17 Policy.

                                           COUNT III

              For a declaration that there is no coverage for the Ferraro Action
                   under the D&O Coverage Section of the 2015-16 Policy

       59.    Scottsdale realleges and incorporates by reference the allegations in Paragraphs 1

through 58 of this Complaint.

       60.    The D&O Coverage Section of the 2015-16 Policy provides specified coverage for

a “Claim” first made during the May 30, 2015 to May 30, 2016 policy period and, as a condition

precedent to coverage, reported to Scottsdale no later than 60 days after May 30, 2016, the end of

the policy period for the 2015-16 Policy. See 2015-16 Policy, D&O Coverage Section, Sections

A.1-3 and E.1 (as amended by Endorsement No. 9 in the 2015-16 Policy).

       61.    The D&O Coverage Section of the 2015-16 Policy defines “Claim” to include, in

relevant part, a “a written demand against an Insured for monetary damages or non-monetary or

injunctive relief.” See 2015-16 Policy, D&O Coverage Section, Section B.1.a.

       62.    Ferraro asserted the Ferraro Demand on October 20, 2015.

       63.    The Ferraro Action, the Ferraro EEOC Charge and the Ferraro Demand involved

“Wrongful Acts” and/or “Interrelated Wrongful Acts” that are deemed to be a single “Claim”

first made on October 20, 2015, when the Ferraro Demand was sent to Convercent. See 2015-16

Policy, D&O Coverage Section, Sections B.6, B.9, D.3 and E.1 (as amended by Endorsement

No. 9 in the 2015-16 Policy).

       64.    Because notice of the “Claim” at issue in the Ferraro Action – which is deemed

first made on October 20, 2015 – not reported to Scottsdale until August 29, 2016, well after 60


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days after the May 30, 2016 end of the policy period of the 2015-16 Policy, the Ferraro Action

does not trigger coverage under the D&O Coverage Section of the 2015-16 Policy.

       65.    Accordingly, Scottsdale is entitled to a declaration that no coverage is available for

the Ferraro Action under the D&O Section of the 2015-16 Policy.

                                           COUNT IV

              For a declaration that there is no coverage for the Ferraro Action
                   under the D&O Coverage Section of the 2016-17 Policy

       66.    Scottsdale realleges and incorporates by reference the allegations in Paragraphs 1

through 65 of this Complaint.

       67.    The D&O Coverage Section of the 2016-17 Policy provides specified coverage for

a “Claim” first made during the May 30, 2016 to May 30, 2017 policy period and, as a condition

precedent to coverage, reported to Scottsdale as required under the terms of the Policy. See

2016-17 Policy, D&O Coverage Section, Sections A.1-3 and E.1 (as amended by Endorsement

No. 10).

       68.    The D&O Coverage Section of the 2016-17 Policy defines “Claim” to include, in

relevant part, a “a written demand against an Insured for monetary damages or non-monetary or

injunctive relief.” See 2016-17 Policy, D&O Coverage Section, Section B.1.a.

       69.    Ferraro asserted the Ferraro Demand on October 20, 2015.

       70.    The Ferraro Action, the Ferraro EEOC Charge and the Ferraro Demand involved

“Wrongful Acts” and/or “Interrelated Wrongful Acts” that are deemed to be a single “Claim”

first made on October 20, 2015, when the Ferraro Demand was sent to Convercent. See 2016-17

Policy, D&O Coverage Section, Sections B.6, B.9, D.3 and E.1 (as amended by Endorsement

No. 10 in the 2016-17 Policy).


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          71.   Because the “Claim” at issue in the Ferraro Action – which is deemed first made

on October 20, 2015 – was first made prior to the May 30, 2016 inception of the 2016-17 Policy,

the Ferraro Action does not trigger coverage under the D&O Coverage Section of the 2016-17

Policy.

          72.   Accordingly, Scottsdale is entitled to a declaration that no coverage is available for

the Ferraro Action under the D&O Section of the 2016-17 Policy.

                                             COUNT V

                     For a declaration that coverage for the Ferraro Action
                       is barred by the Employment Matter Exclusion in
                 the D&O Coverage Section of the 2015-16 and 2016-17 Policies

          73.   Scottsdale realleges and incorporates by reference the allegations in Paragraphs 1

through 72 of this Complaint.

          74.   As set forth above, the Employment Matter Exclusion in the 2015-16 and 2016-17

Policies bars coverage for any “Claim” “alleging, based upon, arising out of, attributable to,

directly or indirectly resulting from, in consequence of, or in any way involving any employment

or employment-related matters brought by or on behalf of or on the right of an applicant for

employment with the Company, or any of the Directors and Officers, including any voluntary,

seasonal, temporary, leased or independently contracted employee of the Company.” See

Policies, D&O Coverage Section, Section C.1.m.

          75.   Ferraro is a “Director or Officer” under the Policies because he is or was a director,

officer, executive, employee or independent contractor of Convercent. See Policies, D&O

Coverage Section, Section B.4 (as amended by Endorsement No. 20 of the 2015-16 Policy and

Endorsement No. 21 of the 2016-17 Policy).



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       76.    The Employment Matter Exclusion bars coverage because the Ferraro Action

alleges, is based upon and arises out of employment or employment-related matters brought by

Ferraro.

       77.    Accordingly, Scottsdale is entitled to a declaration that coverage for the Ferraro

Action is barred by the Employment Matter Exclusion under the D&O Section of the 2015-2016

and 2016-17 Policies.

                                            COUNT VI

                    For a declaration that coverage for the Ferraro Action
                        is barred by the Insured vs. Insured Exclusion
              in the D&O Coverage Section of the 2015-16 and 2016-17 Policies

       78.    Scottsdale realleges and incorporates by reference the allegations in Paragraphs 1

through 77 of this Complaint.

       79.    As set forth above, the Insured vs. Insured Exclusion in the 2015-16 and 2016-17

Policies bars coverage for “Loss” on account of any “Claim” brought or maintained by, on behalf

of, in the right of, or at the direction of any “Insured” in any capacity in any respect and whether

or not collusive. See Policies, D&O Coverage Section, Section C.1.e.

       80.    The 2015-16 and 2016-17 Policies define “Insured” to include “Directors and

Officers” of Convercent, which in turn means “any person who was” “a duly elected or

appointed director, officers or similar executive of” Convercent, or “a person who was” “a full-

time or part-time employee of Convercent.” See Policies, D&O Coverage Section, Sections B.4

and B.5.

       81.    Ferraro is an “Insured” under the Policies by virtue of his status as a current or

former director, officer, executive and/or employee of Convercent – in particular, its CEO and



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former Chie Ethics Officer.

       82.    The Insured vs. Insured Exclusion bars coverage because the Ferraro Action was

brought and maintained by Ferraro, a “Insured.”

       83.    Accordingly, Scottsdale is entitled to a declaration that coverage for the Ferraro

Action is barred by the Insured vs. Insured Exclusion under the D&O Section of the 2015-16 and

2016-17 Policies.

                                          COUNT VII

                For a declaration that coverage for the Ferraro Action under
                  the D&O Coverage Section and the EP Coverage Section
                             of the 2015-16 and 2016-17 Policies
                      Is Limited in Whole or in Part on Other Grounds

       84.    Scottsdale realleges and incorporates by reference the allegations in Paragraphs 1

through 83 of this Complaint.

       85.    Coverage for the Ferraro Action under the D&O Coverage Section and the EP

Coverage Section of the 2015-16 and 2016-17 Policies is limited in whole or in part on other

grounds.

       86.    In connection with the Ferraro Action, Scottsdale has reserved and continues to

reserve its rights generally and under the numerous provisions of the 2015-16 and 2016-17

Policies, including but not limited to the D&O Coverage Section, Sections B.7 (as amended by

Endorsement No. 30 in the Policies), C.1.f. (as amended by Endorsement Nos. 2 in the Policies),

C.1.g., C.1.o., and C.2.a, and the EP Coverage Section, Sections B.10, C.5 and C.10, and General

Terms and Conditions Section D.2 of the Policies.

       87.    Accordingly, Scottsdale is entitled to a declaration that coverage for the Ferraro

Action is limited in whole or in part by the foregoing provisions of the 2015-16 Policy and 2016-


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17 Policy.

       WHEREFORE, Scottsdale respectfully requests that the Court enter judgment in its favor

and declare that Scottsdale has no obligation to defend or indemnify Defendants Convercent,

Quinlan and Foster in connection with the Ferraro Action, and, more specifically:

       (A)     Enter judgment that, for the reasons set forth in Count I, there is no coverage for

the Ferraro Action under the EP Coverage Section of the 2015-16 Policy;

       (B)     Enter judgment that, for the reasons set forth in Count II, there is no coverage for

the Ferraro Action under the EP Coverage Section of the 2016-17 Policy;

       (C)     Enter judgment that, for the reasons set forth in Count III, there is no coverage for

the Ferraro Action under the D&O Coverage Section of the 2015-16 Policy;

       (D)     Enter judgment that, for the reasons set forth in Count IV, there is no coverage for

the Ferraro Action under the D&O Coverage Section of the 2016-17 Policy;

       (E)     Enter judgment that, for the reasons set forth in Count V, coverage for the

Ferraro Action is barred by the Employment Matters Exclusion under the D&O Coverage

Section of the 2015-16 and 2016-17 Policies;

       (F)     Enter judgment that, for the reasons set forth in Count VI, coverage for the

Ferraro Action is barred by the Insured vs. Insured Exclusion under the D&O Coverage Section

of the 2015-16 and 2016-17 Policies;

       (G)     Enter judgment that, for the reasons set forth in Count VII, coverage for the

Ferraro Action under the D&O Coverage Section and the EP Coverage Section of the 2015-16

and 2016-17 Policies is limited in whole or in part on other grounds;

       (H)     Award Scottsdale its costs incurred in this action; and



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      (I)    Award Scottsdale other relief to which it may be entitled.

Dated: May 22, 2017                                  Respectfully submitted,

                                                        /s/ Mary E. Borja
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